
USCA1 Opinion

	







                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 94-1049

                                   UNITED STATES,

                                      Appellee,

                                          v.

                                 TERRY LYNN COLLINS,

                                 Defendant-Appellant.

                                 ____________________

                    APPEAL FROM THE UNITED STATES DISTRICT COURT 

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Robert E. Keeton, U.S. District Judge] 
                                            ___________________

                                 ____________________

                                        Before

                           Boudin and Lynch, Circuit Judges,
                                             ______________
                        and Schwarzer,* Senior District Judge.
                                        _____________________

                                 ____________________

            Lawrence Rizman for the appellant.
            _______________
            Michael  Pelgro,  Assistant  United  States  Attorney,  with  whom
            _______________
        Donald  K. Stern,  United States  Attorney,  and Ralph  F. Boyd,  Jr.,
        ________________                                 ____________________
        Assistant  United  States Attorney,  were  on  brief, for  the  United
        States.


                                 ____________________

                                    July 20, 1995
                                 ____________________

        *  Of the District of Northern California, sitting by designation.





















                      LYNCH, Circuit Judge.   Convicted of being  a felon
                      LYNCH, Circuit Judge.
                             _____________

            in  possession of  a  firearm  in violation  of  18 U.S.C.   

            922(g)(1), Terry  Lynn Collins  received a  sentence of  more

            than 15 years  (188 months) in prison.   He appeals, claiming

            that his conviction  should be reversed under   United States
                                                            _____________

            v. Tavares, 21 F.3d 1 (1st Cir. 1994)(en banc), in which this
               _______

            court,  after Collins' trial, changed its rule concerning the

            admissibility of the nature of the prior felony conviction in

            prosecutions under   922(g)(1).  Collins also argues that the

            court  abused  its  discretion in  admitting  as  an "excited

            utterance"  the statement  of his  intended  victim and  that

            overall   the  evidence   is  insufficient  to   support  his

            conviction.  His conviction is affirmed.

                      First, the  facts, as  they were  presented to  the

            jury.   Renewing an old and unfriendly acquaintance, Collins,

            leaning  out  of  his  car  window,  got  into  an escalating

            argument with Harry Albizu in front of Albizu's parents' home

            in  Fitchburg on  April  29, 1992.  When Harry's  hefty older

            brother  appeared  on  the front  steps,  Collins  drove off,

            yelling back to Harry, "I'll be right back.   I'm gonna shoot

            your fuckin' ass."  Apparently  believing Collins to be a man

            of  his word,  an upset  Harry  Albizu hailed  a police  car,

            containing  Fitchburg State College Police Officer Lord, told

            him of  the threat, and   Officer Lord radioed  the Fitchburg


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            Police for  help.  Albizu's  sister called the police  in the

            meantime.

                      Sure enough, Collins returned  shortly, driving the

            Camaro  he  and his  wife  had  just  bought, and  this  time

            bringing two men with him.  Collins yelled for Albizu to come

            out and  out Albizu came,  but only  to the  porch.   Collins

            tried to entice Albizu down from the porch steps with various

            insults  concerning Albizu's  relationship  with his  mother.

            Albizu   tried  to  persuade   Collins  to  leave,   but  the

            weightlifting bar he threw at Collins missed.

                      Hearing police sirens approaching, Collins gestured

            to his two comrades.  They put a long stick-like object  that

            was wrapped  up into the hatch of the  Camaro.  As the police

            arrived, Collins, still yelling at Albizu, backpedaled toward

            his car.

                       Police Officer Romano,  as he patted down  Collins

            at the  side of the  Camaro, saw shotgun  shells on  the back

            seat.  The hatch door to the car was ajar.  As Officer Romano

            looked in, he saw a pump shotgun in a partially zippered case

            next to two loose shotgun shells.  The gun was  fully loaded.

            A  fishing license  and  fishing  rods,  also in  the  hatch,

            belonged to  Collins.   Officer Romano  asked Collins  if the

            shotgun  was his.  Collins replied  sarcastically, "No.  It's

            yours."





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                      Collins was placed  under arrest.  Hearing  that he

            was  being arrested, an  agitated Collins pointed  at Albizu,

            and said  to  a police  officer  he  knew, "Why  am  I  being

            arrested?  They've got guns too."

                      Simultaneously,   Police   Officer    Raymond   was

            interviewing  Albizu.  A  visibly upset Albizu  described the

            initial argument he had had with Collins, and quoted Collins'

            statement as described earlier. 

                      The gun was owned  by Collins' father, who  kept it

            at his house, which was where Collins lived.



            The Tavares Claim 
            __________________

                      The  prosecution   at  trial   introduced,  without

            objection, Collins' prior felony conviction for  manslaughter

            and  referred several times to the manslaughter conviction in

            argument.  Collins' counsel did  not offer to stipulate  that

            Collins was  a felon  for purposes of    922(g)(1).   Indeed,

            under  the law  of this  Circuit at  the  time of  trial, the

            government  would not  have been  required  to accept  such a

            stipulation.  See United States v. Collamore, 868 F.2d 24, 28
                          ___ _____________    _________

            (1st Cir.  1989).  Several months after  Collins' trial, this

            Court changed that rule in  United States v. Tavares, 21 F.3d
                                        _____________    _______

            1, 5.  Tavares "revisited this issue and determined that when
                   _______

            a defendant is  charged with being a felon-in-possession of a

            firearm,  evidence of the  nature of the  prior conviction is



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            not  admissible unless  special circumstances  establish that

            the  relevance of the evidence is 'sufficiently compelling to

            survive the  balancing test of  Fed. R. Evid. 403.'"   United
                                                                   ______

            States   v.  Lewis,   40  F.3d   1325,   1342-43  (1st   Cir.
            ______       _____

            1994)(quoting Tavares, 21 F.3d at 5).
                          _______

                           This Court  has twice  since applied  Tavares.
                                                                 _______

            In United  States v. Melvin, 27 F.3d 703 (1st Cir. 1994), the
               ______________    ______

            court  applied  Tavares  retroactively to  cases  pending  on
                            _______

            direct review where counsel had offered to stipulate.  Id. at
                                                                   ___

            706-07 n.4.  In Melvin,  the court reversed, finding that the
                            ______

            admission of  the convictions on  the facts was  not harmless

            error.  Id.  at 709.  In United States v. Lewis, 40 F.3d 1325
                    ___              _____________    _____

            (1st  Cir. 1994),  the court  applied  Tavares where  defense
                                                   _______

            counsel had  offered to stipulate,  but found that  any error

            was harmless.  Id. at 1342-43.
                           ___

                      Hoping to benefit from Tavares, Collins attempts to
                                             _______

            shoehorn his  arguments into  categories that  ill  fit.   He

            argues  that  he  suffered  from  ineffective  assistance  of

            counsel because his  counsel neither objected to  nor offered

            to  stipulate  as to  the  manslaughter  conviction.1     But


                                
            ____________________

            1.  This  Court   does  not  normally   consider  ineffective
            assistance of  counsel claims on  direct appeal.   See, e.g.,
                                                               ___  ____
            United States v. Costa, 890 F.2d 480, 482-83 (1st Cir. 1989).
            _____________    _____
            When  the record is sufficiently developed to allow analysis,
            however,  an appellate court may determine the merits of such
            a contention on direct appeal.  See United States v. Natanel,
                                            ___ _____________    _______
            938 F.2d  302, 309  (1st Cir. 1991),  cert. denied,  502 U.S.
                                                  _____ ______
            1079 (1992).  This case falls within the exception. 

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            counsel made no error in light of  the law at the time.   The

            test  for an  ineffective  assistance  of  counsel  claim  as

            articulated in Strickland v. Washington, 466 U.S. 668 (1984),
                           __________    __________

            is not  met. Collins  also argues that  the admission  of the

            conviction  was  barred  by  Fed.  R.  Evid.  403, as  unduly

            prejudicial.  Inasmuch  as there was no objection, the normal

            standard of  review for such a claim would be for plain error

            under Fed.  R. Crim. P.  52(b), as explicated by  the Supreme

            Court in United States v. Olano, 113 S. Ct. 1770 (1993).
                     _____________    _____

                      Counsel, though,  can  hardly be  faulted  for  not

            objecting or for  failing to stipulate, given the  law at the

            time.   Considerations of fairness also raise questions about

            the  appropriate  standard  of review  where  the  failure to

            object  (or to stipulate) most likely  was based on counsel's

            correct understanding of the law at the time.

                      In United States v. Marder, 48 F.3d 564 (1st Cir.),
                         _____________    ______

            cert. denied, 115 S. Ct. 1441 (1995), this Court addressed an
            _____ ______

            analogous situation.   Without objection,  the district court

            had  instructed on the  elements of the  government's case in

            accordance with  the law at  the time.  A  subsequent Supreme

            Court decision made  clear that an additional  instruction on

            willfulness was required, to the  effect that the jury had to

            find  that the  defendant knew  the  currency structuring  in

            which he  was engaged  was unlawful.   Id.  at 572-73.   This
                                                   ___

            Court  then  faced  the issue  the  Olano  court specifically
                                                _____



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            reserved:  what happens "where  the error was  unclear at the

            time  of  trial  but  becomes clear  on  appeal  because  the

            applicable law  has been  clarified."    Id. at  573 (quoting
                                                     ___

            Olano, 113 S. Ct at 1777). 
            _____

                      The  Marder court applied plain error analysis.  It
                           ______

            is worth noting  that Marder had less sympathy with counsel's
                                  ______

            failure to object and for good reason.  At the time of trial,

            this Circuit's law foreshadowed  the Supreme Court's decision

            and the precise issue had  caused withdrawal of an opinion by

            this Court  and  reconsideration en  banc.   Counsel  was  on

            notice. Id. at 572 n.5.  The Marder court avoided analysis of
                    ___                  ______

            issues that have divided other circuits on whether an "error"

            occasioned by a change in law was plain error and whether the

            defendant's  substantial rights were affected2  by turning to

            the last  prong of  the Olano  analysis: whether the  "error"
                                    _____

            "seriously   affects  the   fairness,  integrity   or  public

            reputation  of the  judicial  proceedings."    Id.    at  574
                                                           ___

            (quoting  Olano, 113  S. Ct. at  1779)).  Marder  held that a
                      _____                           ______

            defective willfulness instruction  did not have any  of those

            effects,  disagreeing with the views of three other circuits.


                                
            ____________________

            2.  The Second  Circuit has  held that  where  the court  has
            clarified the law, fairness requires that the burden on plain
            error analysis be shifted to  the government to show that any
                                              __________
            error  did  not affect  the  defendant's substantial  rights,
            varying from  Olano's  rule that  in  the usual  plain  error
                          _____
            analysis the  burden  is  on the  defendant  to  show  actual
                                              _________
            prejudice.  See  United States v. Viola,  35 F.3d 37,  42 (2d
                        ___  _____________    _____
            Cir. 1994), cert. denied, 115 S. Ct. 1270 (1995). 
                        _____ ______

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            Id. at 574-75.  Applying that analysis here, the admission of
            ___

            the  manslaughter conviction does not present even as serious

            a challenge as  that posed in Marder, and  certainly does not
                                          ______

            rise to the  level required by Olano. See  also United States
                                           _____  ___  ____ _____________

            v. Gaudin, 63 U.S.L.W. 4611, 4616-17 (1995) (Rehnquist, C.J.,
               ______

            concurring); United  States v.  Whiting, 28  F.3d 1296,  1309
                         ______________     _______

            (1st Cir.), cert. denied 115 S. Ct. 378 (1994).
                        _____ ______

                      Even  if we allow  for the differences  between the

            positions of counsel who failed  to object in Marder and this
                                                          ______

            case, it  does not  assist Collins.   If there was  any error

            here, regardless  of who  has the  burden on  prejudice, such

            error  was not  prejudicial.  The  district court  on several

            occasions gave limiting instructions  as to the  manslaughter

            conviction,   and  the   evidence  of   Collins'  guilt   was

            overwhelming, including evidence from his own mouth.     



            Excited Utterance
            _________________

                      Collins  argues that  the  district court  erred in

            admitting into evidence Albizu's statement to Officer Raymond

            that Collins had said, "I'll be right back.  I'm  gonna shoot

            your fuckin' ass."  Collins argues that Albizu's testimony at

            trial -- that  the threat had been   "I'm going to  come back

            and get  your ass"  -- did not  confirm the  statement.   The

            variance does not  make the statement inadmissible,  but only





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            raises questions of credibility for  the jury to decide.  See
                                                                      ___

            United States v. Portalla, 985 F.2d 621, 624 (1st Cir. 1993).
            _____________    ________

                      The district court's decision to admit  evidence is

            reviewed  for an  abuse of  discretion.   United  States v.  
                                                      ______________

            Bailey, 834 F.2d 218, 228 (1st Cir. 1987).  The statement met
            ______

            the three pronged test under  Fed. R. Evid. 803(2), i.e., (i)
                                                                ____

            the  declarant  experienced  a   startling  event;  (ii)  the

            statement  was made  while the  declarant was subject  to the

            influence of the  event; and (iii)  the statement related  to

            the event. See id.  Albizu experienced the startling event of
                       ___ ___

            Collins threatening  to return and  shoot him.   While Albizu

            was visibly upset and agitated, Albizu made his statement  to

            Officer Raymond after Collins'  second visit, earlier  having

            made  a similar  statement  to Officer  Lord.   The statement

            self-evidently  related to the events  at hand.  The question

            for  the district  court was  whether a  jury could  find the

            conditional  fact upon which  the relevancy of  the statement

            turned  (i.e.,  whether  Albizu  made  the  statement)  by  a
                     ____

            preponderance  of the evidence.  Huddleston v. United States,
                                             __________    _____________

            485 U.S. 681,  690 (1988).  There were  sufficient indicia of

            reliability  as to Officer  Raymond's report.   See Portalla,
                                                            ___ ________

            985 F.2d  at 624.   Officer Raymond wrote  Albizu's statement

            down verbatim, Albizu separately made a substantially similar

            excited utterance to  Officer Lord, and Collins did return to

            resume the argument with a loaded shotgun.



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            Sufficiency of the Evidence
            ___________________________

                      Collins  argues   that  the   government  presented

            insufficient evidence  to convict  him  of being  a felon  in

            possession of  a firearm because  he was a mere  passenger in

            the car  in which the  firearm was  found.  This  argument is

            without merit.  

                      Our  inquiry is  whether  there  was evidence  from

            which a  rational trier of  fact could conclude  that Collins

            was guilty beyond  a reasonable doubt.  See  United States v.
                                                    ___  _____________

            Moreno, 991 F.2d 943, 944  (1st Cir. 1993), cert. denied, 114
            ______                                      _____ ______

            S.  Ct. 457  (1994).  Collins  had a  motive  to possess  the

            firearm, he had just had an argument with Albizu in which  he

            had threatened to return and shoot Albizu, Collins did return

            in  a  car  with  a  loaded  shotgun  and  extra  ammunition,

            Collins' friends moved the gun  upon his gesture, the gun was

            kept  in the house  where Collins  lived, and  when arrested,

            Collins complained to the police that Albizu had guns too.
                                                                  ___

                      The conviction is affirmed.
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